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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA, : 2z2er1o5 (DLC)

_y- ORDER

JAMES VELISSARIS,
Defendant,

DENISE COTE, District Judge:

The defendant's submission regarding the victims’ claims
for legal expenses is due July 21, 2023. The Government’s
response to this submission is due July 28. It is hereby

ORDERED that at the time each party files its submission
regarding legal expenses, it shall provide the Court with two
(2) courtesy copies by mailing or hand delivering them to the
United States Courthouse, 500 Pearl Street, New York, New York

10007.

Dated: New York, New York
July 19, 2023

Pon Li,

DENISE COTE
United States District Judge

